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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS


CARRIE M. NEIGHBORS,                    )
                                        )
                  Petitioner/Defendant, )
                                        ) Case Nos.              07-20124-CM
v.                                      )                        13-2239-CM
                                        )
UNITED STATES OF AMERICA,               )
                                        )
                  Respondent/Plaintiff. )
_______________________________________)

                                  MEMORANDUM AND ORDER

       This case is before the court on petitioner Carrie M. Neighbors’s Motion for Reconsideration

Pursuant to Rule 60(b) (Doc. 666). Petitioner asks the court to reconsider its decision denying

petitioner’s motion for habeas relief under 28 U.S.C. § 2255. Specifically, in multiple filings

supporting her motion, she alleges several points of error: (1) the court misapprehended controlling

law on whether the government had to prove “profits” for the money laundering counts; (2) the court

erroneously failed to dismiss the case for a Speedy Trial Act violation; and (3) petitioner’s former

attorney fraudulently filed a memorandum in support of petitioner’s § 2255 motion that omitted

agreed-upon grounds and arguments. Petitioner initially included another point of error regarding the

court’s holding that she abandoned certain claims. (Doc. 666 at 1–2.) But she now acknowledges that

her Memorandum of Law on file did not, in fact, include the points and arguments that she thought the

court overlooked. (Doc. 668 at 2.)

       I.      Standard of Review

       If a habeas petitioner files a Rule 60(b) motion, the court must first examine whether the

motion is a true motion for relief from judgment. Spitznas v. Boone, 464 F.3d 1213, 1216 (10th Cir.

2006). The motion may actually be a second or successive habeas petition. The question is whether




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the motion: (1) “in substance or effect asserts or reasserts a federal basis for relief from the petitioner’s

underlying conviction”; (2) challenges one of the court’s procedural rulings that precluded resolution

of the habeas petition on its merits; or (3) challenges “a defect in the integrity of the federal habeas

proceeding, provided that such a challenge does not itself lead inextricably to a merits-based attack on

the disposition of a prior habeas petition.” Id. at 1215–16. Motions falling under the first category

should be treated as second or successive petitions. Motions falling under the second or third category

are treated as any other Rule 60(b) motion.

       If the court finds that petitioner’s motion is actually a second or successive petition, then the

court treats the document accordingly, referring the matter to the Tenth Circuit for authorization if “it

is in the interest of justice to do so.” Id. at 1217; In re Cline, 531 F.3d 1249, 1252 (10th Cir. 2008). If

the motion is “mixed,” the court will also take mixed action: treating the Rule 60(b) portions as such,

and forwarding the remainder to the Tenth Circuit for authorization if appropriate. Id.

       II.     Analysis

               A.      Proof of Profits

       Petitioner’s first contention reargues a point already addressed in her initial § 2255 motion.

There, she claimed that counsel was ineffective when he failed to argue that the court should have

considered net profits instead of gross profits. (Docs. 610-1 at 13; 623 at 5–6.) The court rejected that

argument. (Doc. 654 at 5.) If the court were to consider the argument again now, the challenge would

lead “inextricably to a merits-based attack on the disposition of her prior habeas petition.” Spitznas,

464 F.3d at 1216. Petitioner is not merely challenging a procedural ruling or a defect in the integrity of

the proceeding. Instead, she asks the court to review its denial of her habeas request on this issue. For

these reasons, the court determines this portion of petitioner’s motion is properly construed as a second

or successive request for habeas relief.




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         Under § 2255, federal prisoners seeking to file a second or successive motion must first obtain

authorization from the court of appeals before the district court can consider the motion. In re Cline,

531 F.3d at 1250. When a second unauthorized § 2255 motion is filed, the court has discretion in

determining whether to transfer the action to the circuit court or dismiss the action without prejudice.

See id. at 1251; see also 28 U.S.C. § 1631.

         The Tenth Circuit has provided guidance on determining when a transfer would be in the

interest of justice. In re Cline, 531 F.3d at 1251. “A transfer is not in the interest of justice when the

claims raised in the successive petition clearly do not meet the requirements set forth in 28 U.S.C.

§ 2255(h).” United States v. Lara-Jiminez, 377 F. App’x 820, 822 (10th Cir. 2010) (citing In re Cline,

531 F.3d at 1252). Section 2255(h) identifies two situations in which a second or successive motion is

certifiable: (1) certain newly discovered evidence exists; or (2) certain new rules of constitutional law

have been announced.1 Petitioner does not argue that either of these situations exists, and the court

finds no indication that petitioner’s claim has merit; it is merely a rehashing of an argument previously

rejected by the court. The court therefore finds that it is not in the interest of justice to transfer the case

on this issue.

                            B.       Speedy Trial Act

         In her § 2255 motion, petitioner claimed that a Speedy Trial Act violation occurred. The court

held that the argument was procedurally barred because petitioner did not raise it on appeal. Petitioner

now reiterates that her appellate counsel was ineffective for not raising it on appeal, and she contends

that her counsel’s ineffectiveness permits the court to consider the argument now. But petitioner also

made this argument previously, (Docs. 610 at 8; 623 at 7), and the court held that her statements were


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  The court ordinarily considers several factors in evaluating whether a transfer is in the interest of justice: (1) whether the
claims would be time-barred; (2) the merits of the claims; and (3) the good faith of the filer. In re Cline, 531 F.3d at 1251.
Because petitioner’s motion is merely seeking to re-raise a claim recently addressed by the court, these factors have little
relevance here.



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conclusory, (Doc. 654 at 6). Like petitioner’s first claim of error, this argument is not proper for a

Rule 60(b) motion. The court must construe this as an attempted second or successive habeas request.

       Petitioner also argues that the procedural default rule should not apply because the government

committed fraud during the appeal. (Doc. 685 at 4–5.) Specifically, petitioner claims that the direct

appeal is a “nullity” because the government submitted false evidence in its appellate response brief.

This argument is new and “in substance or effect asserts . . . a federal basis for relief from the

petitioner’s underlying conviction.” Spitznas, 464 F.3d at 1215 (citation omitted). This is also an

attempt at a second or successive habeas request. For the same reasons stated above, a transfer is not

warranted for these claims.

               C.      Fraudulently-Filed § 2255 Memorandum

       Petitioner’s third contention is that she received ineffective assistance from counsel while

pursuing her § 2255 motion. Specifically, petitioner claims that counsel filed a different version of her

Memorandum of Law than she had approved—a version which omitted argument on several important

points. These are the points that the court deemed abandoned in its order on petitioner’s § 2255

motion.

       The government does not directly address petitioner’s contention. Instead, the government

addresses petitioner’s original argument: that the court “overlooked” petitioner’s arguments on the

claims the court deemed abandoned. But petitioner later determined that counsel did not file the

Memorandum of Law that she thought he filed. According to petitioner, the “correct” Memorandum

of Law included support for her claims. This is significant, as the court found that even if her points

were not abandoned, they were conclusory and unsupported. So the question now is whether, under

this new theory, petitioner has alleged a “defect in the integrity of the federal habeas proceedings.”




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Peach v. United States, 468 F.3d 1269, 1271 (10th Cir. 2006). If she has, then the court must consider

this portion of her motion as a Rule 60(b) motion.

       In support of this argument, petitioner filed both a personal affidavit, as well as an affidavit

signed by her husband, Guy Neighbors. Both affidavits indicate that petitioner’s attorney led them to

believe that he filed a different version of the Memorandum of Law—one that included the arguments

deemed abandoned. Ordinarily, an “attack based on . . . habeas counsel’s omissions . . . does not go to

the integrity of the [habeas] proceedings.” Gonzalez v. Crosby, 545 U.S. 524, 532 n.5 (2005). This is

partly because habeas petitioners do not have a constitutional right to counsel in habeas proceedings.

See Pennsylvania v. Finley, 481 U.S. 551, 555 (1987) (“[T]he right to appointed counsel extends to the

first appeal of right, and no further.”); United States v. Prows, 448 F.3d 1223, 1229 (10th Cir. 2006)

(citing Finley, 481 U.S. at 555). Without a constitutional right to counsel, habeas petitioners also lack

a due process right to effective assistance of counsel. Wainwright v. Torna, 455 U.S. 586, 587–88

(1982); Simpson v. Norris, 490 F.3d 1029, 1033 (8th Cir. 2007) (“[W]here there is no constitutional

right to counsel there can be no deprivation of effective assistance.”) (citing Wainwright, 455 U.S. at

587–88).

       What may bring petitioner’s motion under Rule 60(b), however, is her claim of fraud. She

claims that, not only were her habeas attorney’s actions ineffective, but they also were fraudulent.

Claims based on fraud may be considered under Rule 60(b). See Spitznas, 464 F.3d at 1216 (noting

that a motion based on a claim of fraud on the habeas court could be considered a “true” Rule 60(b)

motion). The court will therefore consider this portion of petitioner’s motion as a proper request for

Rule 60(b) relief.

       Petitioner asks the court for relief under Rule 60(b)(3), which permits relief from a judgment

for “fraud . . . misrepresentation, or misconduct by an opposing party.” An initial problem with this




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request is the fact that petitioner’s former attorney is not an “opposing party” under the plain language

of the rule. See Latshaw v. Trainer Wortham & Co., 452 F.3d 1097, 1102 (9th Cir. 2006); Condero v.

United States, Nos. 09Civ4388, 01CR74, 2012 WL 5431005, at *7 (S.D.N.Y. Nov. 5, 2012); Sherman

v. Verizon Va. Inc., 220 F.R.D. 260, 262 (E.D. Va. 2002) (“Plaintiff’s former counsel is not an ‘adverse

party’ within the plain meaning of Rule 60(b)(3). . . . In short, defendant, the ‘adverse party’

contemplated by Rule 60(b)(3), and not plaintiff’s own attorney, must be the author of any fraud,

misrepresentation, or misconduct for which the provisions at issue may provide a remedy.”). This

provision does not offer petitioner relief based on any fraudulent actions of her former counsel.

        Even if Rule 60(b)(3)’s plain language limits its application, however, Rule 60(d)(3) provides

that “[t]his rule does not limit the court’s power to . . . set aside a judgment for fraud on the court.”

Petitioner uses the “fraud on the court” terminology throughout her filings, and the court therefore

considers whether subsection (d)(3) justifies vacating the judgment.

        Rule 60(d)(3) contemplates fraud that “is a wrong against the institutions set up to protect and

safeguard the public, institutions in which fraud cannot complacently be tolerated with the good order

of society.” Hazel-Atlas Glass Co. v. Hartford-Empire Co., 322 U.S. 238, 246 (1944). But the fraud

that petitioner asserts in her habeas proceedings was against her—not the court. She claims that her

attorney, without notifying her, changed the version of the brief that he filed on her behalf. This is

simply not the type of fraud that Rule 60(d)(3) is designed to address. See Weese v. Schukman, 98

F.3d 542, 552–53 (10th Cir. 1996) (“Generally speaking, only the most egregious conduct, such as

bribery of a judge or members of a jury, or the fabrication of evidence by a party in which an attorney

is implicated will constitute a fraud on the court. Less egregious misconduct, such as nondisclosure to

the court of facts allegedly pertinent to the matter before it, will not ordinarily rise to the level of fraud

on the court.”) (internal quotation omitted); Robinson v. Audi Aktiengesellschaft, 56 F.3d 1259, 1267




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(10th Cir. 1995) (requiring “a showing of . . . a deliberate scheme to defraud”); see also Price v. United

States, No. 2:99CV1183, 2010 WL 5343199, at *5 (M.D. Ala. Nov. 5, 2010) (“Fraud on the court, for

purposes of Rule 60(d)(3), is not a mere failure of counsel to present certain issues and arguments.”).

Subsection (d)(3) also offers petitioner no relief.

       Rule 60(b)(6) is another avenue that petitioner may be attempting to use, although it is not

clear. This provision permits the court to vacate a judgment for “any other reason that justifies relief.”

Fed. R. Civ. P. 60(b)(6). To the extent that petitioner also seeks relief under Rule 60(b)(6), such relief

is available only under “extraordinary circumstances,” Ackermann v. United States, 340 U.S. 193, 199

(1950), which will rarely occur in habeas proceedings, Gonzalez, 545 U.S. at 535. The Second Circuit

has said that “[t]o obtain relief under Rule 60(b)(6), a habeas petitioner must show that [her] lawyer

abandoned the case and prevented the client from being heard, either through counsel or pro se.”

Harris v. United States, 367 F.3d 74, 77 (2d Cir. 2004).

       Petitioner does not meet this demanding standard. Her attorney pursued habeas relief on

petitioner’s behalf. He filed a memorandum of law and reply memorandum in support of her cause.

These documents requested habeas relief and supported that request with legal authority and argument.

He did not include all of the arguments that petitioner wanted included, but this court cannot classify

his conduct as “abandon[ing] the case.” Id. The court denies petitioner’s Rule 60(b) request for relief

from judgment.

       Finally, Rule 11 of the Rules Governing Section 2255 Proceedings directs the court to issue or

deny a certificate of appealability when it issues a final adverse order. The court will issue a certificate

of appealability “only if the applicant has made a substantial showing of the denial of a constitutional

right.” 28 U.S.C. § 2253(c)(2). Under this standard, a petitioner must show that “reasonable jurists

could debate whether . . . the petition should have been resolved in a different manner or that the issues




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presented were adequate to deserve encouragement to proceed further.” Slack v. McDaniel, 529 U.S.

473, 484 (2000) (internal quotation marks and citation omitted).

       It is clear that a certificate of appealability is necessary to pursue the court’s denial of relief on

petitioner’s “true” Rule 60(b) claim. See Spitznas, 464 F.3d at 1218 (holding that a certificate of

appealability is required before a petitioner may appeal the disposition of a “true” Rule 60(b) motion).

It is not as clear whether a certificate is necessary for the claims that the court has determined are

attempted second or successive petitions, because the court has also denied a transfer to the Tenth

Circuit. Cf. id. (providing that no certificate is necessary when a second or successive petition is

transferred for authorization).

       In any event, the court is not convinced that its conclusions are debatable among reasonable

jurists or that the issues presented merit further proceedings. For the reasons stated above, the court

finds that petitioner has not made a substantial showing of the denial of a constitutional right. The

court declines to issue a certificate of appealability on any of the claims addressed in this

Memorandum and Order.

       IT IS THEREFORE ORDERED that petitioner’s Motion for Reconsideration Pursuant to

Rule 60(b) (Doc. 666) is denied.

       IT IS FURTHER ORDERED that petitioner’s Speedy Trial Act and net profits claims are

dismissed without prejudice.

       IT IS FURTHER ORDERED that petitioner’s claim of fraud in the habeas proceeding is

dismissed with prejudice.




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IT IS FURTHER ORDERED that the court will not issue a certificate of appealability.

Dated this 21st day of January 2015, at Kansas City, Kansas.


                                            s/ Carlos Murguia
                                            CARLOS MURGUIA
                                            United States District Judge




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